                Case: 1:17-md-02804-DAP Doc #: 3999 Filed: 10/05/21 1 of 1. PageID #: 540745
✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                                 Northern                                DISTRICT OF                          Ohio

In re: National Prescription Opiate Litigation

                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                                                                                                                       Case Number:          1:17md2804

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                           DEFENDANT’S ATTORNEY
                               Dan Polster                                Mark Lanier, et al                                        Eric Delinsky, et al
TRIAL DATE (S)                                                     COURT REPORTER                                                 COURTROOM DEPUTY
                       10/5/21                                           Sue Trischan                                                Robert Pitts
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

 wtn1                                                               Thomas Davis           CVS
 Exh
23318                 10/5/2021                       x            Corp Structure CVS Pharmacy Dept


23470                      N/O                                     Employee Record

 8480                      '                          x            Incident Report

 8472                     N/O                                          Prescriber Info

  8408                         N/O                                   Email

  8494                         "                          x         Review Docs Veres (pg. 9)


23330                      N/O                                     Prescriber Interview Notes

 19738                      N/O                                     Email from Kevin Nicholson re: Pill Mills Presentation Info


  8954                         "                          x          Settlement Agreement CVS & DEA FL 2015


 8955                       "                         x             Settlement Agreement CVS & DEA MD 2016


 10214                     "                          x            Settlement Agreement CVS & DEA TX 2012

 10212                     "                          x            Settlement Agreement CVS & DEA RI 2015


 10213                      "                         x             Settlement Agreement CVS & DEA MA 2016

42147a                     N/O                                     ALJ Decision and Order Holiday CVS

 23267                     "                          x            Email and NACDS Policy Issues Document

8442                       "                          x            Email and Policy Council Recommendations


 8444                          N/O                                  Email to Thomas Davis




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                           Page 1 of   1   Pages
